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                             No. 23-70007


                                 IN THE
   United States Court of Appeals for the Fifth Circuit
              DAVID SANTIAGO RENTERIA,
                                 Petitioner-Appellant,
                          v.
   BOBBY LUMPKIN, DIRECTOR, TEXAS DEPARTMENT OF
CRIMINAL JUSTICE, CORRECTIONAL INSTITUTIONS DIVISION;
                    STATE OF TEXAS
                                 Respondents-Appellees.

   On Appeal from the United States District Court for the Western
      District of Texas, El Paso Division, No. 3:23-CR-2080-FM

  RESPONDENTS-APPELLEES’ BRIEF AND OPPOSITION TO
         MOTION FOR A STAY OF EXECUTION

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           CERTIFICATE OF INTERESTED PERSONS

     The undersigned counsel of record certifies that the following listed
persons and entities as described in the fourth sentence of Rule 28.2.1
have an interest in the outcome of this case. These representations are
made in order that the judges of this court may evaluate possible
disqualification or recusal.

Respondents-Appellees
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                            s/ Jefferson Clendenin
                            JEFFERSON CLENDENIN
                            Assistant Attorney General




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  RESPONDENTS-APPELLEES’ BRIEF AND OPPOSITION TO
         MOTION FOR A STAY OF EXECUTION

     Petitioner-Appellant David Renteria was convicted and sentenced

to death for the murder of five-year-old Alexandra Flores. See Renteria v.

State, 206 S.W.3d 689, 693 (Tex. Crim. App. 2006). Renteria is scheduled

to be executed after 6:00 p.m. (Central Time) on November 16, 2023.

Renteria has unsuccessfully challenged his conviction and sentence in

state and federal court. He has exhausted his postconviction remedies

and, accordingly, the state trial court scheduled his execution. See In re

State of Texas ex rel. Bill D. Hicks, No. WR-95,092-01, 2023 WL 6074482,

at *1 (Tex. Crim. App. Sept. 18, 2023).

     After the state trial court scheduled Renteria’s execution, he sought

to vacate the court’s execution order and warrant, and he requested a

discovery order granting him access to the El Paso County District

Attorney’s files. See id. The trial court granted Renteria’s requests. See

id. But because the trial court lacked jurisdiction to do so, the El Paso

County District Attorney sought mandamus relief from the Texas Court

of Criminal Appeals (CCA). See id. The CCA granted relief and ordered

the trial court to rescind its orders purporting to vacate its execution

order and warrant and to rescind its discovery order. Id. Renteria then


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sought a novel and unsupported postconviction removal to federal court

of the state trial court’s ministerial proceeding setting an execution date.

ROA.4–20.

     The district court properly rejected Renteria’s request and

remanded the case to the state court. ROA.273–74. After Renteria moved

for reconsideration, ROA.277–86, the district court again rejected

Renteria’s unsupported removal effort, ROA.323–36. The district court

found Renteria’s removal request was significantly untimely and failed

to satisfy the applicable standard under 28 U.S.C. § 1443(1). ROA.323–

36. Those findings were indisputably correct. Indeed, Renteria offered no

plausible support for his attempt to remove a ministerial postconviction

state court proceeding to federal court decades after he was prosecuted,

and he made no effort in the district court to show his request met the

statutory criteria. This Court should affirm the district court’s orders.

     For the same reasons, Renteria cannot justify a stay of execution

based on a frivolous attempt to remove ministerial, postconviction state

court proceedings to federal court. Initially, Renteria failed to first

request a stay in the lower court as required by Fed. R. App. P. 8(a) and

5th Cir. R. 8.1, and he makes no showing that such a request would be


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impracticable. Moreover, Renteria fails to identify any authority that

gives this Court jurisdiction to grant a stay of execution. He is also

disentitled to a stay of execution because the equities weigh heavily

against him in light of the extraordinarily dilatory nature of his removal

request and where he failed entirely to show any remedy was available

in federal court. Therefore, this Court should affirm the district court’s

orders and deny Renteria’s motion for a stay of execution.

                      STATEMENT OF JURISDICTION

        This Court has jurisdiction pursuant to 28 U.S.C. §§ 1291, 1447(d),

and 5th Cir. R. 8.

                       STATEMENT OF THE ISSUES

        Whether the district court properly remanded Renteria’s case to

state court.

                          STATEMENT OF THE CASE

I.      Procedural History

        Renteria was convicted and sentenced to death for the murder of

five-year-old Alexandra Flores. See Renteria v. Davis, 814 F. App’x 827,

828–29 (5th Cir. 2020). The CCA upheld Renteria’s conviction on direct

appeal but reversed on punishment and remanded for a new punishment


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trial. Renteria v. State, 206 S.W.3d 689, 710 (Tex. Crim. App. 2006).

Renteria filed his first state application for a writ of habeas corpus prior

to the CCA’s ruling on direct appeal. See Ex parte Renteria, No. 65, 627-

01, 2014 WL 7191058, at *1 (Tex. Crim. App. Dec. 17, 2014). The CCA

denied Renteria’s claims in his first application that challenged his

conviction and dismissed as moot Renteria’s claims that challenged his

death sentence. Id.

     At Renteria’s second punishment trial, he was again sentenced to

death. See Renteria v. State, No. AP-74,829, 2011 WL 1734067, at *1 (Tex.

Crim. App. May 4, 2011). Following the second punishment trial, the

CCA upheld Renteria’s death sentence on direct appeal. Id. Renteria filed

a second state application for a writ of habeas corpus. See Ex parte

Renteria, Nos. WR-65,627-02, WR-65,627-03, 2014 WL 7188848, at *1

(Tex. Crim. App. Dec. 17, 2014). The CCA denied Renteria’s claims in his

second application that challenged his death sentence. Id. The CCA

construed Renteria’s claims in his second application that challenged his

conviction as constituting a separate and subsequent application and

dismissed it as such. Id.




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       Renteria then filed a federal habeas petition. See Renteria v. Davis,

No. EP-15-CV-62, 2019 WL 611439, at *4 (W.D. Tex. Feb. 12, 2019).

During the pendency of his petition, Renteria requested a stay of the

lower court’s proceedings to investigate a statement provided to the El

Paso Police Department. See Order Denying Pet’r’s Mot. to Stay

Proceedings, Renteria v. Davis, No. 3:15-CV-62 (W.D. Tex. June 8, 2018),

ECF No. 111. The court denied the request. 1 Id. In a sealed ex parte

motion, Renteria requested funding to investigate the statement. See

Order Denying Pet’r’s Ex Parte and Sealed Mot. for Funds, Renteria v.

Davis, No. 3:15-CV-62 (W.D. Tex. June 19, 2018), ECF No. 121. The court

below denied the request. Id. The court later denied Renteria’s petition

and his motion to alter or amend its judgment. Renteria v. Davis, 2019

WL 611439, at *88–89; Order Denying Pl’s Mot. to Alter or Amend J.,

Renteria v. Davis, No. 3:15-CV-62 (W.D. Tex. Apr. 10, 2019), ECF No.

128.




1     In its order, the lower court noted that claims made by the purported
witness were inconsistent with the evidence—i.e., the date of the murder and
whether Alexandra’s eyes had been removed and her legs broken by her
assailant. Id. at 8. In denying federal habeas relief, the court discussed
evidence of Renteria’s dishonesty, deception, and unwillingness to admit even
minor flaws. Renteria v. Davis, 2019 WL 611439, at *12–14.
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     Renteria next filed in this Court an application for a certificate of

appealability, which the Court denied. Renteria v. Davis, 814 F. App’x at

835. The Court also affirmed the lower court’s denial of his motion for

funding. Id. The United States Supreme Court denied Renteria’s petition

for a writ of certiorari. Renteria v. Lumpkin, 141 S. Ct. 1412 (2021).

     In May 2023, the District Attorney’s Office for El Paso County

moved the state trial court to schedule Renteria’s execution. ROA.89–94.

In June 2023, Renteria’s federal habeas counsel requested access to the

District Attorney’s Office’s file. ROA.137–39, 141. On June 9, the state

trial court scheduled Renteria’s execution for November 16, 2023.

ROA.146–48. The trial court later vacated and reissued its execution

order and warrant, again scheduling Renteria for execution on November

16, 2023. ROA.150–54, 156–70, 172–73, 175–80, 182–84. Renteria

requested that the court reconsider its execution order and moved the

court to compel the District Attorney’s Office to provide counsel access to

its files. See In re State ex rel. Bill D. Hicks, 2023 WL 6074482, at *1.

Renteria requested and received a hearing in the state trial court

regarding his requests. See id.; ROA.34–72. The court then vacated its

execution order and ordered the District Attorney’s Office to make its


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files available to Renteria. See In re State ex rel. Hicks, 2023 WL 6074482,

at *2.

         The District Attorney’s Office sought mandamus relief in the CCA,

which the court granted. See id. The CCA found the trial court had no

authority under state law to vacate the execution order and warrant. Id.

The CCA also found the trial court lacked jurisdiction to compel the

District Attorney’s Office to comply with a discovery order. Id. at *2–3.

Accordingly, the CCA ordered the trial court to rescind its orders

purporting to vacate the execution order and directing the clerk to

withdraw the execution warrant and to rescind its discovery order. Id. at

*3. Renteria moved for rehearing and a stay of execution, which the CCA

denied. Order, In re State ex rel. Bill D. Hicks, No. WR-95,092-01 (Tex.

Crim. App. Oct. 25, 2023).

         One month later, Renteria filed in the district court a Notice of

Removal in which he complained of the CCA’s disposition of the District

Attorney’s Office request for mandamus relief and the proceedings in the

trial court. ROA.4–20. The district court initially scheduled a motion

hearing. ROA.245–46. But after Respondents filed a Motion for Summary

Remand, ROA.247–71, the court granted that motion and remanded the


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case to state court. ROA.273–74. Renteria moved for reconsideration of

the district court’s decision, ROA.277–306, which the court denied,

ROA.323–36. Renteria then filed a notice of appeal of the district court’s

orders remanding his case to state court and denying his motion for

reconsideration. ROA.337.

     Renteria did not file in the district court a motion for a stay of

execution. See Fed. R. App. Proc. 8(a)(1) (stating that a party must

ordinarily first move in the district court for a stay of a district court’s

order or judgment). Nor does he show why doing so would be

impracticable, a mandatory showing if such a motion is first filed in the

court of appeals. Fed. R. App. P. 8(a)(2)(A). Additionally, Renteria failed

to comply with 5th Cir. R. 8.1, which requires documentary proof of a

motion for a stay and the order denying a stay in district court, or a

statement of why such proof cannot be provided.

     Renteria also filed in the state trial court another motion to vacate

the order setting his execution and requesting an order to show cause

against a finding of contempt, an Application for Writ of Habeas Corpus

Under Article I, § 12 of the Texas Constitution and Texas Code of

Criminal Procedure Article 11.05, and a subsequent application for a writ


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of habeas corpus with an accompanying motion for a stay of execution.

Those motions and applications remain pending.

II.   Statement of Facts

      A.   Facts of the crime

            [Renteria] was a 32[-]year-old registered sex offender on
      probation for committing an indecency offense against an
      eight-year-old girl when he was arrested for the murder of the
      five-year-old girl in this case. On November 18, 2001, this five-
      year-old victim disappeared from a Wal-Mart store where she
      was shopping with her parents. The next day, her nude,
      partially burned body with a partially burned plastic bag over
      her head was discovered in an alley sixteen miles from the
      Wal-Mart. When she was set on fire, she already had been
      manually strangled. The medical examiner testified that the
      victim also received two blows to her head. The medical
      examiner also testified that the victim could have been
      sexually assaulted, although he found no physical evidence of
      sexual assault.

            [Renteria’s] palm print matched a latent palm print that
      was lifted from the plastic bag covering the victim’s head. A
      search of [Renteria’s] van revealed blood stains containing the
      victim’s DNA. [Renteria] and his van were at the Wal-Mart
      when the victim disappeared. A Wal-Mart security guard
      briefly spoke to [Renteria], and Wal-Mart surveillance
      cameras showed a man wearing a light-colored hat, a dark
      shirt, and dark shorts walking out with the victim. Earlier
      that day [Renteria], wearing clothes very similar to those
      worn by the man walking out of the Wal-Mart store, had been
      at a nearby Sam’s store with his father. While at Sam’s,
      [Renteria] purchased oranges, and the victim’s autopsy
      revealed pieces of orange wedges in her stomach.



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            [Renteria] was arrested on December 3, 2001, and he
     gave a written custodial statement to the police. This
     statement was not admitted into evidence at [Renteria’s] trial.
     In this statement, [Renteria] claimed that an “Azteca” gang
     member nicknamed “Flaco,” whom [Renteria] had known in
     jail, and several other persons, whom [Renteria] did not know,
     were primarily responsible for the victim’s murder. [Renteria]
     claimed that he helped these people commit the offense out of
     fear they would harm his family. He also claimed that his
     involvement in the offense was limited to luring the victim out
     of the Wal-Mart and helping “Flaco” and the others dispose of
     and burn her body after the others had murdered her.

Renteria, 206 S.W.3d at 693–94.

     B.   Punishment-phase evidence

          1.      The State’s evidence

          The State presented evidence of the capital offense at
     the punishment trial. . . .

           The State also presented evidence of Renteria’s troubles
     with the law in the years leading up to the instant offense. In
     1992, he committed the offense of indecency with a child. The
     victim of that offense testified that Renteria molested her in
     her home when she was seven years old. She testified that
     Renteria called her into the bathroom where he was sitting on
     the toilet with his pants and underwear pulled
     down. Renteria asked her to sit on his lap, told her “that his
     private area hurt and that he needed [her] to rub it for him,”
     and touched her in her “private area in the front.” They later
     “ended up on the floor,” where Renteria unsuccessfully
     attempted to have intercourse with her and she saw him
     ejaculate. Afterward, Renteria told her “not to tell anybody”
     about their “secret.” Renteria pled guilty to this offense in
     1994 and was placed on deferred adjudication probation for
     ten years.

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          While on probation, Renteria committed three driving
     while intoxicated (DWI) offenses in 1995, 1997, and 2000. . . .

            Renteria violated the terms of probation at various
     times by drinking alcohol, staying out past curfew, driving
     without a valid driver’s license, traveling to Mexico, and being
     around children. . . . The evidence further showed that
     Renteria was dishonest with his sex-offender treatment
     counselor, his probation officers, and his employers. Norma
     Reed, his counselor, testified that Renteria initially admitted
     committing the indecency with a child offense but then denied
     it until he was faced with possible termination from the
     program. When Reed administered an “Abel Assessment”
     test, Renteria scored 85% on the “social desirability” section,
     which indicated “a significant concern that he was likely not
     to be responding truthfully on the self-report portions [of the
     test].” Renteria informed Reed after the fact that he had been
     living with his eighteen-year-old pregnant girlfriend, and he
     admitted that he failed to tell his probation officer this
     information. When Renteria was employed at a parking lot
     less than a block away from a school, he informed probation
     officer Rebecca Gonzales that his employer was not aware of
     his indecency offense. Reed testified that Renteria informed
     her in 1999 that he had lost a job because he had lied about
     his criminal history on his job application. . . .

Renteria v. State, 2011 WL 1734067, at *1–2.

          2.      Renteria’s mitigation case

           Renteria presented evidence through the testimony of
     his family, his childhood dance instructor, a high school
     classmate, the staff at his school, and a mental health expert.
     They described him as a good kid—quiet, friendly, respectful,
     studious, popular, altar boy, National Honors Society
     member, scholarship recipient, and extracurricular activity
     participant—whose life came apart after his arrest and
     conviction for indecency with a child.

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Renteria v. Davis, 2019 WL 611439, at *4.

                      SUMMARY OF THE ARGUMENT

        Renteria sought an unprecedented and unsupported removal to

federal court of a postconviction, ministerial state court proceeding

twenty years after he was prosecuted. This Court should affirm the

district court’s orders because it correctly concluded Renteria’s removal

request was untimely and baseless under the applicable statutes and

Supreme Court precedent. Moreover, this Court should deny a stay of

execution because Renteria’s removal request was frivolous and dilatory,

he failed to comply with federal and local rules for such stays, and this

Court lacks jurisdiction to enter a stay in these proceedings.

                          STANDARDS OF REVIEW

I.      The Removal Standard

        Section 1433(1), on which Renteria relied to remove the state court

proceeding to federal court, provides that a criminal prosecution

commenced in a state court may be removed by the defendant to the

appropriate United States district court if the prosecution is against “any

person who is denied or cannot enforce in the courts of such State a right

under any law providing for the equal civil rights of citizens of the United


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States[.]” But only rights arising “under a federal law providing for

specific civil rights stated in terms of racial equality” qualify. Johnson v.

Mississippi, 421 U.S. 213, 219 (1975) (citation and quotation marks

omitted). Section 1455(b) requires that, except for good cause, a notice of

removal of a criminal prosecution be filed not later than thirty days after

the arraignment in state court or any time before trial, whichever date is

earlier. 28 U.S.C. § 1455(b)(1). 2 A federal court may only issue a writ of

habeas corpus pursuant to the statute if summary remand is not ordered

and if the defendant is in custody “on process issued by the State court[.]”

28 U.S.C. § 1455(b)(5), (c).

       The removing party invoking federal jurisdiction has the burden of

proof on a motion to remand. See Manguno v. Prudential Prop. & Cas.

Ins. Co., 276 F.3d 720, 723 (5th Cir. 2002); Oliver v. Lewis, 891 F. Supp.



2      Renteria’s request for removal was based on § 1443(1). ROA.4. Section
1455 “merely provides procedures that must be followed in order to remove a
criminal case from state court when a defendant has the right to do so under
another provision, such as 28 U.S.C. § 1443.” Kruebbe v. Beevers, 692 F. App’x
173, 176 (5th Cir. 2017) (per curiam). Notably, § 1455(a) requires that a notice
of removal be “signed pursuant to Rule 11 of the Federal Rules of Civil
Procedure and contain[ ] a short and plain statement of the grounds for
removal[.]” As discussed herein, Renteria failed to show the notice of removal
was not presented for an improper purpose, e.g., unnecessary delay, or that its
legal contentions are warranted by existing law or a nonfrivolous argument for
extending existing law. Fed. R. Civ. P. 11(b)(1), (2).
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2d 839, 842 (S.D. Tex. 2012). The federal court looks to the record in the

state court at the time of removal. Cavallini v. State Farm Mut. Auto Ins.

Co., 44 F.3d 256, 264 (5th Cir. 1995). Removal jurisdiction raises

significant federalism concerns, so if there is any doubt that removal is

permissible, “ambiguities are construed against removal because the

removal statute should be strictly construed in favor of remand.”

Manguno, 276 F.3d at 723; see Georgia v. Meadows, --- F. Supp. 3d ---,

2023 WL 5829131, at *2–3 (N.D. Ga. Sept. 8, 2023) (recognizing the

strong judicial policy against federal interference with state criminal

proceedings); Mnuk v. Texas, No. A-14-CV-1128, 2015 WL 1003863, at *2

(W.D. Tex. Mar. 5, 2015) (“Only a very small class of criminal cases are

removable to federal court.”). “When a defendant removes a criminal

prosecution from state court, it is incumbent upon the United States

District Court” to examine the notice promptly, Texas v. Kearns, No. 5:14-

CV-27, 2014 WL 258786, at *1 (W.D. Tex. Jan. 23, 2014) (citation

omitted), and if it appears on the face of the notice and any exhibits that

removal shall not be permitted, the court shall summarily remand the

case to the state court, 28 U.S.C. § 1455(b)(4). “If at any time before final

judgment it appears that the district court lacks subject matter


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jurisdiction, the case shall be remanded.” 28 U.S.C. § 1447(c) (emphasis

added).

      This Court reviews a district court’s order remanding a case to state

court de novo. Kruebbe, 692 F. App’x at 175. This Court “may affirm the

district court’s rulings on any basis supported by the record.” Total Gas

& Power N. Am., Inc. v. Fed. Energy Regulatory Comm’n, 859 F.3d 325,

332 (5th Cir. 2017); see Chevron, U.S.A., Inc. v. Nat. Res. Def. Council,

Inc., 467 U.S. 837, 842 (1984) (an appellate court “reviews judgments, not

opinions”); Davis v. Scott, 157 F.3d 1003, 1005 (5th Cir. 1998).

II.   The Standard Governing Stay Requests

      “A court of the United States may not grant an injunction to stay

proceedings in a State court except as expressly authorized by Act of

Congress, or where necessary in aid of its jurisdiction, or to protect or

effectuate its judgments.” 28 U.S.C. § 2283. A notice of removal does not

stay the state court’s proceedings. 28 U.S.C. § 1455(b)(3). Moreover, a

request for a stay “is not available as a matter of right, and equity must

be sensitive to the State’s strong interest in enforcing its criminal

judgments without undue interference from the federal courts.” Hill v.

McDonough, 547 U.S. 573, 583–84 (2006) (citing Nelson v. Campbell, 541


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U.S. 637, 649–50 (2004)). Assuming this Court has jurisdiction to grant

a stay of execution, Renteria must satisfy all the requirements for a stay,

including a showing of a significant possibility of success on the merits.

Id. (citing Barefoot v. Estelle, 463 U.S. 880, 895–96 (1983)). When a stay

of execution is requested, a court must consider:

     (1) whether the stay applicant has made a strong showing
     that he is likely to succeed on the merits; (2) whether the
     applicant will be irreparably injured absent a stay;
     (3) whether issuance of the stay will substantially injure the
     other parties interested in the proceeding; and (4) where the
     public interest lies.

Nken v. Holder, 556 U.S. 418, 434 (2009) (quoting Hilton v. Braunskill,

481 U.S. 770, 776 (1987)). “In a capital case, the movant is not always

required to show a probability of success on the merits, but he must

present a substantial case on the merits when a serious legal question is

involved and show that the balance of the equities, i.e., the other three

factors, weighs heavily in favor of granting a stay.” Garcia v. Castillo, 431

F. App’x 350, 355 (5th Cir. 2011) (cleaned up).

     A federal court must also consider “the State’s strong interest in

proceeding with its judgment” and “attempt[s] at manipulation,” as well

as “the extent to which the inmate has delayed unnecessarily in bringing

the claim.” Nelson, 541 U.S. at 649–50. Indeed, “there is a strong

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presumption against the grant of a stay where a claim could have been

brought at such a time as to allow consideration of the merits without

requiring entry of a stay.” Id. at 650.

                                ARGUMENT

        Renteria seeks removal to federal court of a postconviction, post-

mandate, ministerial state court proceeding setting an execution date.

See generally Br. for Appellant. The district court correctly rejected

Renteria’s untimely and baseless request. This Court should affirm the

district court and deny a stay of execution.

I.      The District Court Properly Found Renteria’s Notice of
        Removal Untimely and Baseless.

        The district court’s holdings that Renteria’s notice of removal was

untimely and unauthorized were correct for several reasons. First,

Renteria’s request was indeed untimely, and he failed to show the court

had jurisdiction to entertain his request decades after his trial and all his

appeals concluded and where he sought to remove a postconviction, post-

mandate, ministerial state court proceeding scheduling an execution

date, not a criminal prosecution. See 28 U.S.C. § 1455(b)(1). Second, his

notice was facially inadequate to justify removal because it did not allege

a denial of a right that arose under a federal law that provides for specific

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rights stated in terms of racial equality. 3 Third, Renteria failed to show

he was unable to enforce any relevant federal right in state court. The

district court’s orders remanding Renteria’s case should be affirmed.

       A.    Renteria’s notice of removal was untimely, and the
             district court lacked jurisdiction to consider it.

       First, Renteria’s notice of removal was excessively untimely, and

the nature and untimeliness of the notice underscored the absence of

jurisdiction in the district court. His notice did not seek removal of his

criminal prosecution to federal court—his prosecution occurred decades

ago, and his appeals are long final. See Renteria, 2011 WL 1734067, at

*1; Prosecution, Black’s Law Dictionary (11th ed. 2019) (“A criminal

proceeding in which an accused person is tried”). Removal of Renteria’s

prosecution was simply an impossibility. Instead, Renteria sought

removal to federal court of a ministerial state court postconviction

proceeding. But he has identified no precedent that indicates such a


3     Renteria suggests the district court initially found his notice of removal
was facially sufficient because it ordered a hearing. Br. for Appellant at 3. His
suggestion is belied by the court’s order that soon followed, which canceled the
hearing after Respondents filed a Motion for Summary Remand, ROA.273–74,
and its later order denying Renteria’s motion for reconsideration. ROA.323–
36. Indeed, the statutory procedures for removal proceedings explicitly
provides that a district court “shall” remand a case if “at any time before final
judgment it appears that the district court lacks subject matter jurisdiction[.]”
28 U.S.C. § 1447(c).
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removal is permissible or that the district court had jurisdiction to

consider it since judgment was entered by the state court and became

final years ago. 4 Many courts have held that § 1455 does not provide for

postconviction removal. 5 The many cases in which courts have so held


4      See Idaho v. Oelker, No. 3:20-CV-383, 2020 WL 6081885, at *1 (D. Idaho
Oct. 15, 2020) (“[E]ven if Oelker’s criminal case has come to an end, this Court
does not have jurisdiction. Any disagreements Oelker has with his state court
proceedings must be taken up in that forum[.]”); Tyler v. Schollmeyer, No. 4:19-
CV-2621, 2019 WL 5424379, at *4–5 (E.D. Mo. Oct. 23, 2019) (“Removal
jurisdiction can only be properly exercised if the state court case is still
ongoing. That is, if the state court proceedings for which removal is sought is
already completed, the case must be dismissed for lack of jurisdiction. . . .
Plaintiff has attempted to attack his original conviction in a number of
different ways, including state postconviction actions, federal habeas petitions,
and removals to federal court. In the instant case, Plaintiff has received
adverse judgments from the state courts, and is now attempting to obtain a
federal forum by characterizing this action as one for removal, when he is
actually seeking to overturn those rulings. Removal in such circumstances is
not permissible.”) (citations omitted); Williams v. Holloway, No. 3:14-CV-126,
2014 WL 5529742, at *2 (E.D. Vir. Oct. 31, 2014) (“At the time Williams filed
the Notice of Removal, there was no pending criminal prosecution against him
in the Circuit Court to be removed to federal court. To the contrary, Williams’s
criminal prosecution concluded in 2005 when the Circuit Court entered the
judgment of conviction.”); Dema v. Arizona, No. CV-07-0726, 2008 WL
2941167, at *10 (D. Ariz. July 25, 2008) (applying 28 U.S.C. § 1446); see also
Massachusetts v. Thomas, No. 23-10789, 2023 WL 4204432, at *2 (D. Mass.
June 27, 2023); cf. Oviedo v. Hallbauer, 655 F.3d 419, 423–24 (5th Cir. 2011)
(stating in a civil case, “[r]emoval is simply not possible after a final judgment
and the time for direct appellate review has run.”).

5     See, e.g., Williams v. Corrigan, No. 22-2096, 2023 WL 3868657, at *2 (6th
Cir. May 12, 2023) (“Williams’s removal petition was untimely given that it
was filed [fifteen] years after his conviction.”); Kansas v. Gilbert, Nos. 22-3213
& 22-3230, 22-3229 & 22-3249, 2023 WL 2397025, at *1 (10th Cir. Mar. 8, 2023)
(“[B]ecause the criminal cases that Gilbert attempted to remove from state
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stand in stark contrast to the sheer absence of any support for Renteria’s

interpretation of § 1455.

      Moreover, § 1455(b)(1) requires that a “notice of removal of a

criminal prosecution shall be filed not later than [thirty] days after the

arraignment in the State court, or at any time before trial, whichever is

earlier, except for good cause[.]” Renteria was indicted, convicted, and

sentenced to death twenty years ago. See Renteria v. State, 2011 WL

1734067, at *1. His punishment retrial resulted in a second death


court were closed, the district court correctly concluded it had no choice but to
dismiss the cases.”); Delaware v. Desmond, 792 F. App’x 241, 243 n.1 (3d Cir.
2020) (agreeing with district court’s conclusion that postconviction removal
petition was untimely); Scott v. Artis, 2023 WL 6973870, at *2 (E.D. Mich. Oct.
23, 2023) (“Petitioner’s attempt to remove his 1998 criminal case to federal
court is untimely.” (citing Corrigan, 2023 WL 3868657, at *2)); Setts v. Dixon,
No. 1:23-CV-99, 2023 WL 4109780, at *1 (N.D. Fla. May 30, 2023); Alexander
v. MN, No. 22-CV-740, 2022 WL 1572035, at *1 (D. Minn. Mar. 29, 2022)
(“Alexander’s state-court criminal proceedings, including his trial, ended years
ago. There is nothing pending for Alexander to remove to federal court.”), report
and recommendation adopted, No. 22-740, 2022 WL 1570713, at *1 (D. Minn.
May 18, 2022); Miller v. Louisiana, No. 18-14251, 2019 WL 1293273, at *2
(E.D. La. Mar. 1, 2019) (“[T]he statute clearly does not contemplate removal of
a case after conviction.” (emphasis in original)), report and recommendation
adopted, 2019 WL 1277522, at *1 (E.D. La. Mar. 20, 2019); Barber v. Vance,
No. 3:16-CV-2105, 2019 WL 267874, at *2 (D. Or. Jan. 18, 2019); Larose v.
Missouri, No. 4:17-CV-1962, 2017 WL 3217136, at *2–3 (E.D. Miss. July 28,
2017) (petition seeking removal of state postconviction proceeding was
untimely because those proceedings could “no longer be considered a state
criminal prosecution that can be removed pursuant to 28 U.S.C. § 1443”); Maze
v. Tennessee, No. 3:15-CV-698, 2015 WL 3989125, at *2 (M.D. Tex. June 30,
2015) (“[S]ince the matter is already on appeal, it is perfectly clear that
removal of this action should not be permitted.”).
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sentence in 2008. Id. His direct appeal concluded in 2011. Id. His state

habeas proceedings concluded almost ten years ago. See Ex parte

Renteria, 2014 WL 7188848, at *2. His federal habeas proceedings

concluded almost three years ago. Renteria v. Davis, 141 S. Ct. 1412

(2021). He has entirely failed to articulate any statutory or equitable

basis on which to permit removal of a ministerial postconviction

proceeding where the statute provides for removal of a criminal

prosecution that is sought pretrial. 6 28 U.S.C. § 1455(b)(1). Therefore, the

district court properly held the removal statute does not reach

postconviction. ROA.330–33.

       Renteria argues the district court erred in holding his removal

request was untimely because the court purportedly relied on dicta from



6      Notably, § 1455(c) contemplates that a removal petitioner will be in
custody on process issued by a state court. Renteria is not in state custody
pursuant to process—he is in custody pursuant to a decades-long final state
court judgment of conviction. See Renteria v. State, 2011 WL 1734067, at *1.
Renteria failed to articulate how a federal court could have jurisdiction to order
Respondents to either transport him more than 800 miles to El Paso for a
hearing or surrender custody to the United States Marshals. See 28 U.S.C.
§ 1455(c); cf. Shoop v. Twyford, 596 U.S. 811, 822–24 (2022) (holding federal
district court erred in ordering transport of state prisoner in § 2254 proceeding,
especially where it delays resolution of case and presents serious risk to public
safety); Beatty v. Lumpkin, 52 F.4th 632, 634 (5th Cir. 2022) (holding federal
district court lacks jurisdiction to order state prisoner unshackled absent
pending § 2254 litigation).
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the Supreme Court’s opinion in State of Ga. v. Rachel, 384 U.S. 780

(1966), and because the court relied on legislative history to hold

postconviction removals are impermissible. Br. for Appellant 15–24.

Neither argument shows any error in the district court’s judgment.

     First, Renteria fails to justify his construction of § 1455(b)(1) such

that a state criminal proceeding can be removed any time—even

decades—postconviction. Assuming the statute is unambiguous as

Renteria suggests, it unambiguously provides only for removal of

criminal prosecutions before trial. 28 U.S.C. § 1455(b)(1). Specifically,

the statute provides for removal of a criminal prosecution—not an

appeal—not later than thirty days after arraignment, or any time before

trial, whichever date is earlier. Id. Thus, the statute plainly envisions

only removals of state court criminal prosecutions prior to trial. See id. It

provides an exception for good cause, id., but Renteria provides no reason

to conclude Congress intended the statute’s oblique allowance for filing

“at a later time” to drastically alter the meaning of a “criminal

prosecution” or to indefinitely allow for removal to federal court of state

court appeals, state habeas proceedings, or ministerial state court

proceedings scheduling execution dates. Such postconviction proceedings


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are commonplace in capital cases yet, under Renteria’s interpretation of

§ 1455(b)(1), the mere existence of those proceedings means “good cause”

may exist to escape the statute’s pre-trial time limits. Such an

interpretation of the statute is baseless and absurd.

     Indeed, it is entirely illogical to suggest Congress intended

§ 1455(b)(1)’s opening clause to restrict timeliness of a removal petition

to pre-trial deadlines but for the good cause exception to swallow the rule

by extending the time for removal indefinitely even after exhaustion of

postconviction remedies. The only logical conclusion is that the good

cause exception must relate to the pre-trial period. Consequently,

irrespective of whether the Supreme Court’s statement in Rachel the

district court cited was dicta, the court did not err in relying on it—as

well as numerous lower court opinions—in finding Renteria’s notice of

removal untimely. ROA.300–03. Renteria cannot identify any error in the

absence of controlling or persuasive authority in his favor.

     Second, because Renteria’s proposed interpretation of § 1455(b)(1)

would plainly yield such absurd and unprecedented results that would

defeat the intent of the statute, the district court was permitted to

consider either canons of construction or legislative history. See United


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States v. Moore, 71 F.4th 392, 395 (5th Cir. 2023). And as the district

court noted, legislative history plainly indicates that § 1455(b)(1) does not

allow for postjudgment removal. ROA.330–31.

     Moreover, application of canons of statutory construction yields the

same inescapable conclusion. See Yates v. United States, 574 U.S. 528,

543–45 (2015) (discussing the principles of construction noscitur a sociis,

which counsels courts “to avoid ascribing to one word a meaning so broad

that it is inconsistent with its accompanying words, thus giving

unintended breadth to the Acts of Congress,” and ejusdem generis, which

instructs that “where general words follow specific words in a statutory

enumeration, the general words are usually construed to embrace only

objects similar in nature to those objects enumerated by the preceding

specific words”) (cleaned up). As discussed above, it is flatly illogical to

ascribe as broad a meaning to the phrase “at a later time” as Renteria

does. See id. The correctness of the district court’s interpretation of the

statute is confirmed by the conspicuous absence in Renteria’s briefing of

any citation to a case in which postconviction removal of a criminal case

was permitted. Indeed, Renteria relies only on a twenty-seven-year-old

secondary source for the proposition that § 1455(b)(1) “breathe[d] new


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life” into postconviction removal. 7 Br. for Appellant at 17. But as

discussed above, the absence of any supporting precedent in the forty-six

years following the statute’s amendment has proven the breath to be

anoxic.

       Renteria also argues § 1455(b)(1)’s use of the phrase “at a later

time” unambiguously provides for postconviction removal because

§ 1455(b)(3) indicates a state court prosecution can proceed except that a

judgment of conviction cannot be entered unless the prosecution is first

remanded. Br. for Appellant at 19–20. But this provision confirms that

removals can only occur prior to judgment because the statute

presupposes that, for a case to be removable, judgment has not been

entered. See 28 U.S.C. § 1455(b)(3). And nothing in the removal statute

provides a federal court authority to invalidate or reopen a final state

court judgment.




7     Renteria also asserts that this Court “took note” of the statute’s
amendment. Br. for Appellant at 17 (citing Butler v. King, 781 F.2d 486, 487
(5th Cir. 1986)). In Butler, this Court addressed a pre-trial removal that
occurred prior to the 1977 amendment to the removal statute. 781 F.2d at 489.
This Court did not address whether the amendment to the statute created the
open-ended avenue for removal Renteria proposed it did. See id. (“We take
solace in the fact that Congress acted in 1977 to prevent abuses of the removal
procedure and that this case could not arise today on identical facts.”).
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       Renteria literally suggests capital “criminal prosecutions” are

never final “until the sentence is actually carried out,” Br. for Appellant

at 20–22, but such a suggestion is entirely spurious. 8 See Staley v. State,

420 S.W.3d 785, 795 (Tex. Crim. App. 2013) (general jurisdiction is not

restored in the trial court when a conviction has been affirmed and

mandate has issued); Ex parte Johnson, 12 S.W.3d 472, 473 (Tex. Crim.

App. 2000) (“A direct appeal is final when the mandate from the court of

appeals issues.”). Section 1455 does not differentiate between capital and

non-capital judgments. Renteria’s argument improperly conflates finality

of a capital judgment with the execution of it, and he provides no support

for the proposition that a capital conviction is not final until an execution

is carried out. See In re State ex rel. Hicks, 2023 WL 6074482, at *2.

Indeed, the availability of postconviction avenues to “frustrate” a state’s

interest in finality does nothing to prove a capital conviction does not

become final until the inmate has been executed.



8     For instance, Renteria argues that legal proceedings—i.e., the setting of
an execution date—follow the affirmation of a capital conviction. Br. for
Appellant 20–21. This does nothing to show capital convictions are uniquely
not final until the defendant dies. For example, the duty of some individuals
convicted of a reportable sex offense to register “ends when the person dies.”
Tex. Code Crim. Proc. art. 62.101(a). This does not mean convictions for those
sex offenses are nonfinal until the offender dies.
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     Lastly, Renteria argues his expansive view of the availability of

removal under § 1455 is appropriate because, otherwise, federal courts

would be forced to make difficult predictive judgments about whether a

state court will protect a defendant’s rights, and the 1977 amendment to

the removal statute eases that difficulty. Br. for Appellant at 24

(“Voila!”). But he is too clever by half. Again, he provides no supporting

precedent from the forty-six years that followed the amendment. Indeed,

the Supreme Court in Johnson explained that removals under § 1443(1)

must be based on a denial or inability to enforce a specified federal right

in state court as expressed in a state statute or constitutional provision

“rather than a denial first made manifest in the trial of the case,” 421

U.S. at 219 (quoting Rachel, 384 U.S. at 803), and Renteria fails to

identify precedent indicating the standard has been relaxed. Renteria

also fails to provide any limiting principle, e.g., by identifying any state

court proceeding that would not be removable, under his interpretation

of the removal statute. And if Renteria’s interpretation held sway,

removal of postconviction proceedings would be so commonplace it would

render federal habeas proceedings obsolete. Cf. Tyler, 2019 WL 5424379,

at *4–5 (“In the instant case, Plaintiff has received adverse judgments


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from the state courts, and is now attempting to obtain a federal forum by

characterizing this action as one for removal, when he is actually seeking

to overturn those rulings. Removal in such circumstances is not

permissible.”).

     Relatedly, Renteria has not attempted to articulate what procedure

he envisions could occur in federal court pursuant to a removal of a

ministerial state court proceeding scheduling an execution. Again, he has

already been prosecuted—that occurred more than twenty years ago. No

criminal trial or proceeding remains to be conducted. Also, a federal court

in removal proceedings could not enjoin the state from carrying out

Renteria’s execution. 28 U.S.C. § 2283 (“A court of the United States may

not grant an injunction to stay proceedings in a State court except as

expressly authorized by Act of Congress, or where necessary in aid of its

jurisdiction, or to protect or effectuate its judgments.”); 28 U.S.C.

§ 1455(b)(3); see also Meadows, 2023 WL 5829131, at *2. The district

court could also not entertain a successive federal habeas petition. 28

U.S.C. § 2244(b)(3)(A); see Felker v. Turpin, 518 U.S. 651, 662 (1996) (a

court’s “authority to grant habeas relief to state prisoners is limited by

§ 2254, which specifies the conditions under which such relief may be


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granted to ‘a person in custody pursuant to the judgment of a state

court’”) (internal citations omitted).

       To the extent Renteria envisions making a second attempt—after

failing in state court—to compel the District Attorney’s Office to provide

him access to its files, a federal court lacks jurisdiction to provide such a

remedy because it would be in the form of mandamus directed to a

nonparty state court or a state official. See Corrigan, 2023 WL 3868657,

at *2 (“[T]he district court lacked any authority to order the [state] trial

court to rule on Williams’s pending post-conviction motions.” (citing

Woods v. Weaver, 13 F. App’x 304, 306 (6th Cir. 2001)); Pruett v. Choate,

711 F. App’x 203, 206 n.10 (5th Cir. 2017); see also Twyford, 596 U.S. at

822–24 (holding order that allows a prisoner to search for new evidence

is not necessary or appropriate in aid of a federal court’s jurisdiction

when the prisoner has not shown the desired evidence would be

admissible in connection with a particular claim for relief). Indeed, such

a remedy would effectively nullify the CCA’s mandamus judgment. 9 See



9     For example, Renteria argued there are unresolved equal protection
claims that arise from the state court’s proceeding. ROA.19. But he has not
even attempted to explain how a federal court has jurisdiction to resolve any
such claim. And if no state court currently has jurisdiction to resolve such
claims, it is because Renteria failed to timely avail himself of the available
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Lance v. Dennis, 546 U.S. 459, 463 (2006) (an “aggrieved litigant cannot

be permitted to do indirectly what he no longer can do directly” (citation

omitted)); Moye v. Clerk, DeKalb Cty. Superior Court, 474 F.2d 1275, 1276

(5th Cir. 1973) (per curiam). Renteria provides no basis, or even an

explanation, for how a federal court could provide such a remedy. For the

same reason, Renteria’s effort to remove the state court proceeding is

contrary to the Rooker-Feldman doctrine. 10 See Oelker, 2020 WL

6081885, at *2.

        Renteria’s complaint in state court was primarily that he was not

provided access to the prosecution’s file, which request was spurred by

disclosure by the prosecution to Renteria in 2018 of a witness statement.




processes to do so, e.g., Texas Code of Criminal Procedure, article 11.071 § 5.
Notably, after the district court rejected Renteria’s removal request, he filed in
state court a habeas application in which he argued the state court’s
proceedings scheduling his execution violated his rights to due process and
equal protection. Appl. for Writ of Habeas Corpus Under Art. I, § 12 of the Tex.
Constitution & Tex. Code of Crim. Proc. Art. 11.05 at 93–107, Ex parte
Renteria, No. 20020D00230 (327th Dist. Ct., El Paso, Cty., Nov. 2, 2023). That
filing undercuts Renteria’s argument that he has no state court forum in which
to seek to vindicate his rights.

10     See Rooker v. Fidelity Trust Co., 263 U.S. 413, 415 (1923) (holding that
the jurisdiction of the district court is strictly original); District of Columbia
Court of Appeals v. Feldman, 460 U.S. 476, 482 (1983) (holding a United States
district court has no authority to review final judgments of a state court in
judicial proceedings).
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See Renteria v. Davis, 814 F. App’x at 834–35. Even ignoring the

excessive untimeliness of, and the district court’s lack of jurisdiction to

consider, his request, Renteria failed to show good cause for his

extraordinary and unprecedented request to remove a ministerial, post-

mandate proceeding from state court to federal court where he did not

seek a remedy in state court for years after he was provided the witness

statement. 11 Any holding to the contrary would countenance obvious and

unwarranted delay. See Shinn v. Martinez Ramirez, 596 U.S. 366, 390

(2022) (explaining a federal court may never “needlessly prolong” a state

prisoner’s collateral attack on his conviction).

        The district court correctly held Renteria’s notice of removal was

untimely. ROA.273–74, 330–33. Therefore, this Court should affirm the

district court’s orders remanding Renteria’s case to state court. See Smith

v. Winter, 717 F.2d 191, 199 (5th Cir. 1983) (affirming district court’s

remand order because it failed as a matter of law and, consequently, a



11    Moreover, Renteria’s assertion that his notice of removal is timely
because the CCA’s opinion in the mandamus proceeding was “novel” is
inaccurate. ROA.18. In holding the trial court lacked jurisdiction to withdraw
its execution order and to issue a discovery order, the CCA relied on its “well
settled” precedent that trial courts do not retain general jurisdiction after a
conviction is affirmed and mandate is issued. In re State ex rel. Hicks, 2023 WL
6074482, at *2 (citing Staley, 420 S.W.3d at 795).
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“remand [to the district court] for an evidentiary hearing would be

pointless”).

      B.       Renteria identifies no valid basis for removal of the
               state court’s proceeding.

      Renteria’s notice of removal complained that the CCA held in the

mandamus proceeding that the state trial court had “no freewheeling

jurisdiction to seek to safeguard Renteria’s Fourteenth Amendment

rights,” and he asserted his Fourteenth Amendment right to equal

protection as grounds for removal of the state court proceedings. See Br.

for Appellant at 27. His request was frivolous under binding precedent.

      Renteria relied on 28 U.S.C. § 1443(1) as the basis for removal.

ROA.4. But to remove a case under that provision, the removing party

“must show both that: (1) the right allegedly denied [ ] arises under a

federal law providing for specific rights stated in terms of racial equality;

and (2) the removal petitioner is denied or cannot enforce the specified

federal rights in the state courts due to some formal expression of state

law.” Oliver, 891 F. Supp. 2d at 844. Under the first requirement, the

right asserted must “arise under laws phrased specifically in terms of

racial equality rather than in general terms of equality for all citizens

comprehensively,” so “broad [F]irst [A]mendment or [F]ourteenth

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[A]mendment claims do not satisfy the test[.]” Winter, 717 F.2d at 194;

see Johnson, 421 U.S. at 219; United States v. Belc, No. 22-12558, 2023

WL 6232474, at *2 (11th Cir. Sept. 26, 2023) (neither the right to equal

protection nor the federal civil rights statute, 42 U.S.C. § 1983, provide

for specific rights in terms of racial equality); Delavigne v. Delavigne, 530

F.2d 598, 600–01 (4th Cir. 1976) (holding that only race-related

discrimination claims are a basis for removal under § 1443(1)). Indeed,

“[t]he civil rights removal statute does not require and does not permit

the judges of the federal courts to put their brethren of the state judiciary

on trial.” City of Greenwood v. Peacock, 384 U.S. 808, 828 (1966); see Doe

v. Berry, 967 F.2d 1255, 1258 (8th Cir. 1992).

        Consequently, Renteria’s broad assertions of the deprivation of the

right of equal protection were not adequate under § 1443(1) where he did

not claim racial discrimination. 12 Indeed, his Fourteenth Amendment


12    See Peacock, 384 U.S. at 827–28 (“It is not enough to support removal
under [§] 1443(1) to allege or show that the defendant’s federal equal civil
rights have been illegally or corruptly denied by state administrative officials
in advance of trial, that the charges against the defendant are false, or that
the defendant is unable to obtain a fair trial in a particular state court.”);
Winter, 717 F.2d at 194; Mackey v. Massachusetts, 582 F. Supp. 3d 1, 4 (D.
Mass. 2022); Thorp Finance Corp. v. Lehrer, 587 F. Supp. 533, 534 (E.D. Wis.
1984); Whitestone Sav. and Loan Ass’n v. Romano, 484 F. Supp. 1324, 1326
(E.D. N.Y. 1980). Moreover, matters that are discretionary with public officials
are generally not appropriate for removal. See Johnson v. People of State of
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and equal protection arguments were facially inadequate to justify

removal. 13 “There is not the merest hint” from Renteria’s allegations that

any alleged deprivation of a right to due process or equal protection was

based on a violation of racial equality. State of Iowa v. Johnson, 976 F.

Supp. 812, 817 (N.D. Iowa 1997). Removal of the state court proceeding



Cal., 473 F.2d 1044, 1044–45 (9th Cir. 1973) (allegation that state law invested
state courts with discretion to impose different punishments for the same
offense committed by different persons in similar situations insufficient to
justify removal); People of State of N.Y. v. Hutchinson, 360 F.2d 759, 762 (2d
Cir. 1966) (allegation that bail was set extraordinarily high because of
defendant’s involvement in civil rights demonstrations did not justify removal);
Oliver, 891 F. Supp. 2d at 845; People of State of N.Y. v. Baker, 354 F. Supp.
162, 168 (S.D. N.Y. 1973) (claims of discriminatory prosecution provide no
basis for removal unless there is an allegation and proof that race was the
reason for the discrimination); Denson v. Williams, 341 F. Supp. 180, 182 (S.D.
Tex. 1972) (holding that an equal protection challenge to state laws restricting
the rights of felons to vote and hold office was not removable because the laws
did “not operate as to deprive citizens of constitutional rights because of their
race”).

13     The state trial court did not base its order compelling the District
Attorney’s Office to provide Renteria access to its files on a finding of racially
motivated disparate treatment. ROA.31–33. Nor did the court identify any law
that provides a right to access a prosecuting office’s files much less a statutory
right that is stated in terms of racial equality. ROA.31–33; see 28 U.S.C.
§ 1443(1). Moreover, much of Renteria’s notice of removal complained of what
he perceives as a lack of process during the state court’s proceeding. ROA.8–
16. But what process is required under the statutory provisions regarding the
setting of an execution date is a purely state-law matter, and a ministerial one
at that. See Belyeu v. Johnson, 82 F.3d 613, 615 (5th Cir. 1996) (“The setting
of the date for execution is not a critical part of the sentencing proceedings, but
is rather a ministerial act implementing the judgment earlier entered.”). And,
again, Renteria’s notice identified no relevant protected right that is stated in
terms of racial equality. See 28 U.S.C. § 1443(1).
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“simply is not the proper vehicle to assert in federal court the civil rights

claims [Renteria] may believe” he has. Id.

     Renteria argues the district court erroneously conflated “the need

to have ‘a right’ and the need for that right to arise ‘under any law

providing for the equal rights of citizens.’” Br. for Appellant at 25. The

problem      for   Renteria,     however,        is    that      the     Supreme       Court

unambiguously requires a removal petitioner under § 1443(1) to

demonstrate “that the right allegedly denied the removal petitioner

arises under a federal law ‘providing for specific civil rights stated in

terms of racial equality.’” Johnson, 421 U.S. at 219 (quoting Rachel, 384

U.S. at 792). And “[c]laims that prosecution and conviction will violate

rights    under     constitutional     or    statutory          provisions     of    general

applicability      or    under   statutes        not        protecting    against      racial

discrimination, will not suffice.” Id.

     Moreover,          Renteria’s   complaint         is     founded     in   the     CCA’s

jurisdictional holding, which raises no federal constitutional issue at all.

See Howlett By and Through Howlett v. Rose, 496 U.S. 356, 372 (1990)

(“When a state court refuses jurisdiction because of a neutral state rule

regarding the administration of the courts, we must act with utmost


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caution before deciding that it is obligated to entertain the claim. . . . The

States thus have great latitude to establish the structure and jurisdiction

of their own courts.”); see also Medina v. California, 505 U.S. 437, 444

(1992) (“[I]t has never been thought that [decisions under the Due

Process Clause] establish this Court as a rule-making organ for the

promulgation of state rules of criminal procedure.”) (alteration in

original) (quoting Spencer v. Texas, 385 U.S. 554, 564 (1967)); Rhoades v.

Martinez, No. 21-70007, 2021 WL 4434711, at *2 (5th Cir. Sept. 27, 2021)

(“[A] declination to rule for want of jurisdiction cannot be reframed as a

denial of due process rooted in the state law.”). Renteria’s failure to point

to any relevant law to support removal renders his removal request

frivolous.

        Renteria references the Civil Rights Act of 1964. 14 Br. for Appellant

at 26. But Renteria was not prosecuted for protesting—he was prosecuted

for murdering a young child. And his removal petition did not allege his



14    See Illinois v. Young, 2012 WL 2031129, at *2 (C.D. Ill. June 6, 2012)
(“The paradigmatic case is of civil rights demonstrators arrested and
prosecuted for trespass as a result of participating in a sit-in, which the Civil
Rights Act of 1964 expressly authorizes and immunizes from state prosecution.
Here, Defendant cannot even begin to argue that he had a federal statutory
right to possess a gun as a felon, since federal law also prohibits felons from
possessing guns in most situations.” (citation omitted)).
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prosecution for capital murder violated the Civil Rights Act of 1964—nor

could it. See id. He provides no basis on which to conclude he satisfied

the first part of the § 1443(1) test where he relied solely on a broad

assertion of the right to equal protection. See Winter, 717 F.2d at 194.

Indeed, his argument that his Fourteenth Amendment right to equal

protection is adequate under § 1443(1), Br. for Appellant at 26–28, is

squarely foreclosed by Supreme Court and Fifth Circuit precedent,

rendering his removal request frivolous. 15 See Johnson, 421 U.S. at 219;

County of Yazoo, Miss. v. Prewitt, No. 23-60073, 2023 WL 7381440, at *1

(5th Cir. Nov. 7, 2023); McMullen v. Cain, 726 F. App’x 257, 257–58 (5th

Cir. 2018) (“As McMullen concedes, his claims in this case do not arise

under a federal law pertaining specifically to racial equality, yet he asks

that we disregard the Supreme Court’s construction of § 1443(1) as error.

This we cannot do.”); Cabello v. Texas, 71 F. App’x 315, 316 (5th Cir. 2003)

(“Cabello argues that 28 U.S.C. § 1443 does not require allegations of

racial discrimination. Cabello’s argument is contrary to Johnson[.]”);




15    See also Miller v. Lambeth, 443 F.3d 757, 761–62 (10th Cir. 2006); St.
James Associates v. Larsen, 67 F. App’x 684, 686 (3d Cir. 2003); Alabama v.
Conley, 245 F.3d 1292, 1295–96 (11th Cir. 2001); Chestnut v. People of State of
N.Y., 370 F.2d 1, 3–4 (2d Cir. 1966).
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Winter, 717 F.2d at 194; Robertson v. Ball, 534 F.2d 63, 66 n.5 (5th Cir.

1976) (suggesting this Court “look with favor upon a summary motion to

dismiss, as frivolous, an appeal from a remand when the removal

purportedly based on § 1443 does not even colorably fall within the strict

tests set out in Johnson, Georgia, and Greenwood”).

     Renteria cites Williams v. State of Miss., 608 F.2d 1021, 1022 (5th

Cir. 1979), for the proposition that the Equal Protection Clause is “a

federal law providing for specific civil rights stated in terms of racial

equality.” Br. for Appellant at 27. But this Court in Williams said no such

thing. Instead, it assumed arguendo that “[t]he right to have a grand jury

selected without regard to race can be invoked by 42 U.S.C.A. § 1981, a

law guaranteeing equal civil rights and stated in terms of racial

equality.” 608 F.2d at 1022. This has no bearing whatsoever on Renteria’s

baseless request, which is contrary to binding precedent.

     As with his timeliness argument, Renteria’s argument regarding

§ 1443(1) asks this Court to simply ignore decades of precedent. He




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provides no justification for this Court to depart from its and the Supreme

Court’s precedent. This Court should affirm the district court’s orders. 16

        C.    Renteria was not denied or unable to enforce any
              protected right in state court.

        Renteria also failed to show he was denied or was unable to enforce

any protected right in state court. Again, as discussed above, Renteria

fails to even allege he was denied any right that arose under a law

providing for specific federal rights stated in terms of racial equality. 28

U.S.C. § 1443(1). The CCA held the trial court lacked jurisdiction in the

postconviction, ministerial proceedings to safeguard Renteria’s right to

equal protection—not any right to racial equality. In re State ex rel. Hicks,

2023 WL 6074482, at *3. Necessarily then, he cannot show he was

improperly denied any such right in state court or prevented from

vindicating any such right in state court. The district court correctly

concluded Renteria failed the second part of the Johnson test because he



16    Section 1455(b)(2) states that a “failure to state grounds [for removal]
that exist at the time of the filing of the notice shall constitute a waiver of such
grounds, and a second notice may be filed only on grounds not existing at the
time of the original notice.” Renteria’s notice of removal failed to articulate any
valid basis for removal, including an allegation that he was denied a right that
arose under a federal law providing for specific rights stated in terms of racial
equality. Renteria has, therefore, waived any allegation that removal was
appropriate due to such a claim.
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failed to identify any relevant right under § 1443(1) the state court

prevented him from vindicating. See Prewitt, 2023 WL 7381440, at *1;

Kearns, 2014 WL 258786, at *2 (“Second, Kearns does not explain how

Texas courts are inadequate to enforce or vindicate his federal rights to

racial equality.”); Barber, 2019 WL 267874, at *2 (“Plaintiff does not

allege that his criminal prosecution is a violation of his racial civil rights,

nor that Oregon has a state statute or constitutional provision that

commands it to ignore federal racial civil rights.”).

      Even if his broad complaints of denial of a right to equal protection

and due process could satisfy § 1443(1), he utterly fails to show the state

court processes precluded him from seeking to vindicate such rights. As

the CCA explained, the trial court lacked jurisdiction to issue a discovery

order because it had no relevant operative pleading before it that

provided it jurisdiction. In re State ex rel. Hicks, 2023 WL 6074482, at

*2–3. Nothing precluded Renteria from filing such a pleading, e.g.,

seeking authorization under article 11.071 § 5 to file a subsequent

application for a writ of habeas corpus, as he has now done. Renteria’s

choice to withhold the filing of such a pleading—despite having been

provided more than five years ago the witness statement that formed the


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basis of his request for access to the District Attorney’s Office’s file—does

not mean that the state court’s process denied him any right or precluded

him from enforcing any protected right. His dilatory tactics do not justify

the novel and extraordinary remedy of removal of a state court

postconviction proceeding to federal court. This Court should affirm the

district court’s orders remanding this case to the state court.

                                    ***

     “It is worth contemplating what the result would be if” Renteria’s

“strained interpretation of [§] 1443(1)” were to prevail. Peacock, 384 U.S.

at 832. For one, unsuccessful habeas petitioners could require federal

district courts to sit in judgment of Texas trial courts and the CCA. As

explained above, federal courts cannot do so. And it is also worth

remembering that this case arises following a final state court

judgment—not in an original criminal prosecution, a direct appeal, or a

habeas proceeding. Indeed, Renteria would have this Court create a new

and extraordinary remedy, based on a broad allegation of the denial of

due process or equal protection, which would effectively create an avenue

to directly appeal a state court’s resolution of a purely state-law matter

that arose in a mandamus proceeding long after a conviction is final. Such


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efforts to turn federal district courts into “super state supreme court[s]”

would become commonplace. Porter v. Estelle, 709 F.2d 944, 957 (5th Cir.

1983). Renteria cites no precedent for such an expansion of removal

jurisdiction or for such an end-run around the limitations of federal

habeas jurisdiction. This Court should not countenance Renteria’s novel

and unjustified expansion of federal court supervisory authority.

II.   The Removal Statute Does Not Provide Jurisdiction to
      Grant a Stay of Execution.

      Lastly, Renteria cannot obtain a stay of execution in this removal

proceeding because this Court lacks jurisdiction to grant a stay. 28 U.S.C.

§§ 1455(b)(3), 2283. Therefore, his motion for a stay of execution must be

denied.

      Even if this Court could grant a stay of execution, Renteria provides

no justification for it to do so. His motion for a stay does nothing but

restate his arguments on the merits of his removal appeal. As discussed

thoroughly above, his notice of removal and this appeal are frivolous.

Therefore, Renteria is not entitled to a stay of execution because he

necessarily cannot make a strong showing that he is likely to succeed on

the merits. See Hill, 547 U.S. at 583–84.



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     Moreover, Renteria’s removal request was plainly dilatory since it

was filed more than twenty years after it was required to be filed. 28

U.S.C. § 1455(b); see Hill, 547 U.S. at 584. Further, Renteria fails to show

he would be substantially harmed without a stay, that the public interest

favors a stay, or that the balance of equities favors a stay. As discussed

above, Renteria’s notice of removal was untimely and baseless. For the

same reasons, he cannot show he will be irreparably harmed if denied a

stay of execution. See Walker v. Epps, 287 F. App’x 371, 375 (5th Cir.

2008) (“[T]he merits of his case are essential to our determination of

whether [a prisoner] will suffer irreparable harm if a stay does not

issue.”). Therefore, this Court should deny Renteria’s motion for a stay of

execution.

                             CONCLUSION

     For the above reasons, the Respondents-Appellees request that this

Court affirm the district court’s judgment and deny Renteria’s motion for

a stay of execution.

                             Respectfully submitted,

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   CERTIFICATE OF COMPLIANCE WITH RULE 32(a)(7)(B)

     I do hereby certify that this brief complies with Federal Rule of
Appellate Procedure 32(a)(7)(B) in that it contains 10,368 words,
Microsoft Word, Century Schoolbook, 14 points.

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